Case 1:19-md-02915-AJT-JFA Document 641 Filed 06/25/20 Page 1 of 14 PageID# 7462



                          IN THE UNITED STATES DISTRICT COURT
                          FOR THE EASTERN DISTRICT OF VIRGINIA
                                     Alexandria Division

  IN RE: CAPITAL ONE CONSUMER               )
  DATA SECURITY BREACH LITIGATION           )                  MDL No. 1:19md2915 (AJT/JFA)
  __________________________________________)

  This Document Relates to CONSUMER Cases
  __________________________________________

                            MEMORANDUM OPINION AND ORDER

         Defendants Capital One Financial Corporation, Capital One Bank (USA), N.A., and

  Capital One, N.A. (collectively, “Capital One”) have filed Rule 72 Objections to Order Granting

  Plaintiffs’ Motion to Compel Production of Mandiant Report [Doc. 556], together with an

  accompanying memorandum [Doc. 558] (sealed) (“Objections” or “Objs.”). In its Objections,

  Capital One objects to the Memorandum Opinion and Order dated May 26, 2020 [Doc. 490] (the

  “Order”) entered by Magistrate Judge John Anderson, granting Plaintiffs’ Motion to Compel

  Production of the Mandiant Report [Doc. 412].

         Upon plenary, de novo review of the Order, the Objections, the memoranda in support

  thereof and in opposition thereto, and for the reasons stated below, the Court concludes that the

  Order is neither clearly erroneous nor contrary to law, and the Objections are OVERRULED,

  the Order is AFFIRMED, and Capital One will be ordered to produce the Mandiant Report

  pursuant to the terms of the Protective Order entered in this action.

                                       I.   BACKGROUND

         After a de novo review of the record, the Court adopts the factual findings set forth in the

  Order, summarized herein, and makes such additional findings as reflected in this Memorandum

  Opinion and Order:
Case 1:19-md-02915-AJT-JFA Document 641 Filed 06/25/20 Page 2 of 14 PageID# 7463



         On November 30, 2015, Capital One entered into a Master Services Agreement (“MSA”)

  with FireEye, Inc., d/b/a Mandiant (“Mandiant”). Under that MSA, Capital One, and Mandiant

  entered into a series of Statements of Work (“SOWs”), including a Statement of Work dated

  January 7, 2019 (the “2019 SOW”). A key purpose of the MSA and SOWs was to ensure that, in

  the event of a cybersecurity incident, Capital One could respond quickly. To that end, the SOWs

  directed Mandiant to provide incident response services, which are broadly characterized as

  computer security incident response support; digital forensics, log, and malware analysis

  support; and incident remediation assistance. In addition, under the SOWs, Mandiant is to

  provide a final report covering these issues and should one be necessary, a written technical

  document outlining the results and recommendations for remediation. Capital One paid Mandiant

  for this work from a Capital One fund denominated “business critical” expenses. [Doc. 416-3] at

  13.

         In July 2019, Capital One confirmed that it had experienced a data breach, and on July

  20, 2019, Capital One retained the law firm Debevoise & Plimpton LLP (“Debevoise”) to

  provide legal advice in connection with that incident. On July 24, 2019, Capital One and

  Debevoise signed a Letter Agreement with Mandiant under which Mandiant would provide

  services and advice, “as directed by counsel,” in the areas of (1) computer security incident

  response; (2) digital forensics, log, and malware analysis; and (3) incident remediation, reflecting

  the same scope of work Mandiant had already agreed to provide under the MSA and SOWs. The

  Letter Agreement also provided that Mandiant would be paid based on the payment terms set

  out in the 2019 SOW, and “[l]ikewise, unless inconsistent with the terms of this Letter,

  [Debevoise], [Capital One], and Mandiant will abide by the applicable terms set forth in [the

  2019 SOW] and the [MSA],” dated November 30, 2015. On July 26, 2019, Capital One,



                                                   2
Case 1:19-md-02915-AJT-JFA Document 641 Filed 06/25/20 Page 3 of 14 PageID# 7464



  Debevoise, and Mandiant executed an Addendum to the Letter Agreement that purported to

  expand the engagement to include “penetration testing of systems and endpoints.” Unlike the

  MSA and prior SOWs, however, the Letter Agreement provided that all work completed by

  Mandiant was to be conducted at the direction of Debevoise (not Capital One) and that any

  deliverables were to be produced directly to Debevoise (not Capital One).

          On September 4, 2019, Mandiant issued its report pursuant to the Letter Agreement and

  Addendum (the “Report”). Initially, the Report was sent directly to Debevoise and later, by

  Debevoise or at Debevoise’s direction, to Capital One’s legal department, its Board of Directors,

  its financial regulators, its outside auditor, and dozens of Capital One employees. Mandiant was

  paid for the services reflected in the Report from a retainer Mandiant had already received from

  Capital One under the 2019 SOW, and after that retainer had been exhausted, with funds paid

  directly by Capital One from its Cyber budget, which payments were later re-designated as legal

  expenses.

          On June 9, 2020, Capital One, pursuant to Federal Rule of Civil Procedure 72, filed its

  Objections. The sole issue now before the Court is whether the Report is entitled to work product

  protection.1

                                        II.    LEGAL STANDARD

               A. Federal Rule of Civil Procedure 72(a)

          Rule 72(a) permits a party to submit objections to a magistrate judge’s ruling on non-

  dispositive matters such as discovery orders. Fed. R. Civ. P. 72(a); see also 28 U.S.C. §

  636(b)(1)(A).



  1
   As agreed, on June 12, 2020, Plaintiffs submitted their response [Doc. 566] (“Opp.”); and on June 16, 2020,
  Capital One, who has waived a hearing on the Objections [Doc. 555], submitted a reply [Doc. 577] (“Reply”).
  Accordingly, the Objections are ripe for review.

                                                          3
Case 1:19-md-02915-AJT-JFA Document 641 Filed 06/25/20 Page 4 of 14 PageID# 7465



         When presented with an objection under Rule 72, the district court is to review the

  objected-to order under the “clearly erroneous or contrary to law” standard. 28 U.S.C. §

  636(b)(1)(A); see Malletier v. Haute Diggity Dog, LLC, 2007 U.S. Dist. LEXIS 14244, 2007 WL

  676222, at *1 (E.D. Va. Feb. 28, 2007). The Fourth Circuit has held that the “clearly erroneous”

  standard is deferential and that findings of fact should be affirmed unless review of the entire

  record leaves the reviewing court with “the definite and firm conviction that a mistake has been

  committed.” Harman v. Levin, 772 F.2d 1150, 1153 (4th Cir. 1985) (citing United States v. U.S.

  Gypsum Co., 333 U.S. 364, 395 (1948)). Meanwhile, a decision is considered “contrary to law”

  “when it fails to apply or misapplies relevant statues, case law, or rules of procedure.” Attard

  Industries, Inc. v. U.S. Fire Ins. Co., 2010 U.S. Dist. LEXIS 80785, 2010 WL 3069799 at *1

  (E.D. Va. Aug. 5, 2010) (citing DeFazio v. Wallis, 459 F. Supp. 2d 159, 163 (E.D.N.Y. 2006)).

  And in this respect, this Court has noted that for questions of law, “there is no practical

  difference between review under Rule 72(a)’s contrary to law standard and [a] de novo

  standard.” Bruce v. Hartford, 21 F. Supp.3d 590, 594 (E.D. Va. 2014) (citing Robinson v.

  Quicken Loans Inc., 2013 U.S. Dist. LEXIS 56210, 2013 WL 1704839, at *3 (S.D. W.Va. Apr.

  19, 2013)).

         In its Objections, Capital One centrally claims that the Magistrate Judge erred as a matter

  of law with respect to its application of the applicable standard for determining work product

  protection. Objs. at 12 (“The Magistrate Judge misapplied the Fourth Circuit’s ‘because of’

  standard”). Although that application implicates underlying factual findings, none of those facts

  appear to be materially disputed; and Capital One’s challenge is, in substance, based on an issue




                                                    4
Case 1:19-md-02915-AJT-JFA Document 641 Filed 06/25/20 Page 5 of 14 PageID# 7466



  of law. The Court therefore reviews the Objections primarily under the “contrary to law”

  standard.2

                B. Work Product Protection

           Parties may obtain discovery regarding any nonprivileged matter that is relevant to any

  party’s claim or defense and is proportional to the needs of the case. Fed. R. Civ. P. 26(b)(1).

  However, a party may not ordinarily discover documents “that are prepared in anticipation of

  litigation by or for another party or its representative.” Fed. R. Civ. P. 26(b)(3)(A).

           In determining whether a document was created in anticipation of litigation, a court must

  decide if the document was prepared “because of the prospect of litigation when the preparer

  faces an actual claim or a potential claim following an actual event or series of events that

  reasonably could result in litigation.” Nat’l Union Fire Ins. Co. of Pittsburgh, Pa. v. Murray

  Sheet Metal Co., 967 F.2d 980, 984 (4th Cir. 1992) (emphasis added). And where, as here, the

  relevant document may be used for both litigation and business purposes, the court must

  determine “the driving force behind the preparation of” the requested document. Id. at 984. In

  that connection, work product that would have otherwise been produced “in the ordinary course

  of business” does not receive work product immunity. Nat’l Union, 967 F.2d at 984 (citing

  Goosman v. A. Duie Pyle, Inc., 320 F.2d 45, 52 (4th Cir. 1963)).


  2
    In support of its Objections, Capital One has produced two supplemental declarations, see Objs., Exs. A & B; and
  Plaintiffs challenge whether Capital One can present and the Court should consider new evidence at this point. The
  Court concludes that it is not precluded from receiving new evidence, see Harleysville Ins. Co. v. Holding Funeral
  Home, Inc., 2017 U.S. Dist. LEXIS 76486, at *6, 2017 WL 2210520 (W.D. Va. May 19, 2017) (citing United States
  v. Frans, 697 F.2d 188, 191 n.3 (7th Cir. 1983) (Rule 72(a) “do[es] not necessarily restrict district court review of a
  magistrate’s findings” and the district court may “receiv[e] additional evidence or conduct[ ] a full review”), and has
  considered the two recently-submitted declarations. However, as Capital One admits, these declarations only
  “clarify” the arguments previously raised before the Magistrate Judge and do not introduce either new issues or new
  arguments not raised below. See Objs. at 3, n.2; see also Reply at 7 (“Regardless of whether the Court considers the
  additional evidence, it should still sustain” the Objections); id. at 9 (“[W]hile the facts detailed in the . . . declaration
  sharpen and clarify some of the issues raised in the [May 26 Order], none of the arguments Capital One makes in its
  Rule 72 Objections relies solely on this new material.”).

                                                               5
Case 1:19-md-02915-AJT-JFA Document 641 Filed 06/25/20 Page 6 of 14 PageID# 7467



         In determining the “the driving force behind the preparation of” a particular document,

  courts have applied what has become known as the RLI test, based on the pronouncements in RLI

  Insurance Co. v. Conseco, Inc., 477 F. Supp. 2d 741, 748 (E.D. Va. 2007). Under the RLI test, a

  court focuses on (1) whether the document at issue was created “when [the] litigation is a real

  likelihood, [and not] . . . when that litigation is merely a possibility[,]” RLI, 477 F. Supp. 2d at

  748 (citing Nat’l Union, 967 F.2d at 984); and (2) whether the document would have been

  created in essentially the same form in the absence of litigation, id. at 747 (citing United States v.

  Adlman, 134 F.3d 1194, 1195 (2d Cir. 1998) (citing Nat’l Union, 967 F.2d at 984)). Ultimately,

  the party “claiming the protection,” here Capital One, “bears the burden of demonstrating the

  applicability of the work product doctrine.” Solis v. Food Employers Labor Relations Ass’n, 644

  F.3d 221, 232 (4th Cir. 2011).

                                         III.   ANALYSIS

         In its Objections, Capital One argues that the Magistrate Judge erred as a matter of law

  because he: (1) applied the second prong of the RLI test (whether the document would have been

  created in essentially the same form absent litigation) as part of the Fourth Circuit’s “driving

  force” test; (2) relied too heavily on the “pre-existing SOW with Mandiant” to conclude that

  Mandiant would have performed essentially the same services as “described in the Letter

  Agreement” with Debevoise; and (3) relied on subsequent regulatory and business uses of the

  Report in determining that the Report is not entitled work product protection. Id. at 7-8. None of

  these contentions is availing.

         As an initial matter, the Court notes that Capital One had previously acknowledged that

  both prongs of the RLI test applied in determining whether work product protection exists for the

  Report. See [Doc. 435] at 10-11 (“To determine whether a document was prepared ‘because of’



                                                     6
Case 1:19-md-02915-AJT-JFA Document 641 Filed 06/25/20 Page 7 of 14 PageID# 7468



  the prospect of litigation, this Court must first ask whether Capital One ‘face[d] an actual claim

  or a potential claim following an actual event or series of events that reasonably could result in

  litigation. . . [and] [t]he second prong of the Fourth Circuit’s ‘because of’ inquiry asks whether

  the document ‘would not have been prepared in substantially similar form but for the prospect of

  that litigation.’”) (quoting E.I. Du Pont de Nemours & Co. v. Kolon Indus., Inc., No. 3:09-cv-58,

  2010 WL 1489966, at *3 (E.D. Va. Apr. 13, 2010) (quoting RLI, 477 F. Supp. 2d at 748)). Its

  current position - that the second prong of the RLI test does not apply to the circumstances of this

  case - is fundamentally at odds with its previous position; and as a result, there is a substantial

  issue whether Plaintiff is barred from taking that position at this point under the invited error

  doctrine. See United States v. Ellis, 1999 U.S. App. LEXIS 2690, at *16, 1999 WL 92568 (4th

  Cir. 1999) (holding that even if the complained-of instructions below were erroneous, defense

  counsel had invited their use and cannot rely on that error as a basis for relief) (citing Wilson v.

  Lindler, 8 F.3d 173, 175 (4th Cir. 1993) (en banc)).

         In any event, Capital One’s view that the second prong of the RLI test does not apply in

  this case is misconceived. In that regard, Capital One contends in substance that where, as here,

  the work product documents are created only after the prospect of litigation arises, see Objs. at

  17, the “driving force” test should not include the second prong of the RLI test and essentially

  ends in favor of protection upon determining, as the Magistrate Judge did in this case, that the

  Report was created in anticipation of litigation. But there is nothing in the “driving force” test

  that suggests such a limiting gloss. The second prong of the RLI test captures one of the core

  inquiries identified by the Fourth Circuit in National Union: whether the work product would

  have otherwise been produced in the ordinary course of business. Indeed, the Fourth Circuit in

  Nat’l Union did not end its analysis upon determining that a document was created in the



                                                    7
Case 1:19-md-02915-AJT-JFA Document 641 Filed 06/25/20 Page 8 of 14 PageID# 7469



  presence of foreseeable and likely litigation, but also considered whether the work product would

  not have been prepared in substantially similar form but for the prospect of litigation. See Nat’l

  Union, 967 F.2d at 984. Capital One’s argument that the “driving force” test must begin and end

  with whether litigation was foreseeable ignores the substance of the test articulated in Nat’l

  Union.

           As mentioned above, Capital One had previously embraced the RLI test as properly

  reflecting the “because of” or “driving force” standard announced in Nat’l Union; and other

  courts have similarly concluded that the RLI test is an appropriate formulation, as does the Court

  in this case. See, e.g., In re Dominion Dental Servs. United States, 429 F. Supp. 3d 190, 192-94

  (E.D. Va. 2019) (Nachmanoff, J.); In re Premera Blue Cross Customer Data Sec. Breach Litig.,

  296 F. Supp. 3d 1230, 1245 (D. Or. 2017); see also Charles Alan Wright, Arthur R. Miller, and

  Richard L. Marcus, 8 Federal Practice & Procedure § 2024 (2d ed. 1994)) (“The ‘because of’

  standard . . . considers the totality of the circumstances and affords protection when it can fairly

  be said that the document was created because of anticipated litigation, and would not have been

  created in substantially similar form but for the prospect of that litigation.”) (internal quotations

  and citations omitted). Therefore, for the above reasons, the Magistrate Judge was correct to

  apply both prongs of the RLI test in assessing Capital One’s assertion of work product protection.

           In applying the RLI test, the Magistrate Judge determined that the first prong was clearly

  satisfied, finding that “[t]here is no question that at the time Mandiant began its ‘incident

  response services’ in July 2019, there was a very real potential that Capital One would be facing

  substantial claims following its announcement of the data breach.” Order at 7. However, as to the

  second prong of the RLI test, the Magistrate Judge determined that Capital One failed to establish

  that the Report would not have been prepared in substantially similar form but for the prospect of



                                                    8
Case 1:19-md-02915-AJT-JFA Document 641 Filed 06/25/20 Page 9 of 14 PageID# 7470



  that litigation. There appears to be no dispute as to the Magistrate’s finding concerning the first

  prong and, after de novo review, the Court concludes, after considering the totality of the

  evidence, that the Magistrate Judge properly applied the second prong in concluding that the

  Report did not enjoy work product protection.

           Capital One contends that the second prong of the RLI test was incorrectly applied as a

  matter of law because the Magistrate Judge gave dispositive effect to the pre-existing SOW with

  Mandiant, when in fact, at Debevoise’s instruction, Mandiant changed the nature of its

  investigation, the scope of work, and its purpose in anticipation of litigation; and as a result,

  “Mandiant’s investigation and report would have been very different if Capital One had engaged

  Mandiant to investigate the Cyber Incident for business purposes” because, in that scenario,

  “Mandiant’s investigation would have focused on remediation.” Objs. at 18 (emphasis in

  original). 3

           But that contention appears hollow in light of the respective scope of services covered

  under the Letter Agreement and the 2019 SOW, 4 which are identical; and the Addendum,




                                                                                                         see also


  3
    In this regard, Capital One suggests that a Mandiant report produced at the direction of counsel would pertain to
  “causation issues pertinent to legal liability determinations.” Objs. at 18. But that explanation does not sufficiently
  address how such issues fall outside the scope of the 2019 SOW, particularly since issues regarding causation and/or
  legal liability are grounded in the facts Mandiant was tasked with investigating under the 2019 SOW as part of its
  incident response services.
  4




                                                            9
Case 1:19-md-02915-AJT-JFA Document 641 Filed 06/25/20 Page 10 of 14 PageID# 7471



  Letter Agreement (stating that “unless inconsistent with the terms of this Letter [Agreement],

  Counsel [Debevoise], Client [Capital One] and Mandiant will abide by the applicable terms set

  forth in the SOW and Master Services Agreement between Mandiant and Client dated November

  30, 2015 . . .”) and Addendum. In fact, the primary difference between the 2019 SOW and the

  Letter Agreement is a specific reference in the Letter Agreement to the Cyber Incident and the

  role Debevoise would play. In light of these similarities, the Magistrate Judge found that the

  Report would have been, in the absence of Debevoise’s involvement, likewise similar,

  particularly given that the “only significant evidence that Capital One has presented concerning

  the work Mandiant performed is that the work was at the direction of outside counsel and that the

  final report was initially delivered to outside counsel.” Order at 8. Those findings were neither

  clearly erroneous nor contrary to law. In short, no difference between what Mandiant produced

  and what it would have produced in the ordinary course of business absent Debevoise’s

  involvement can be reasonably inferred from any differences in substance between the 2019

  SOW and Letter Agreement; and Capital One failed to produce evidence sufficient to establish

  any such likely differences.5


  5
    In support of its position that the Report is substantially different than what Mandiant would have otherwise
  provided absent the prospect of litigation and Debevoise’s involvement, Capital One points to the relatively short
  and somewhat conclusory internal report that Capital One’s Cyber Organization team produced in response to the
  Cyber Incident. [Doc. 558], Ex. 2 (under seal). With this internal report as a backdrop, Capital One cites cases
  finding work product privilege where there were investigations parallel to counsel-led investigations. But those
  cases indicate that a parallel investigation was but one factor, among others, in the court’s analysis and generally did
  not discuss in any detail how the parallel investigations materially differed in form or substance from the counsel
  investigation at issue. See, e.g., In re Target Corp. Customer Data Sec. Breach Litig., 2015 U.S. Dist. LEXIS
  151974, 2015 WL 6777384, at *2 (D. Minn. Oct. 23, 2015) (upholding company’s claim of protection over third-
  party firm’s investigation when a separate, non-privileged investigation had been conducted to determine “how the
  breach happened” but only after conducting an in camera review); In re Experian Data Breach Litig., 2017 U.S.
  Dist. LEXIS 162891, 2017 WL 4325583, at *2 (C.D. Cal. May 18, 2017)). More to the point is that there is nothing
  in the record in this case that would reasonably suggest that this internal report reflects what Mandiant would have
  produced absent Debevoise’s involvement. And as the Magistrate Judge correctly concluded, Capital One, who
  bears the burden, has not provided sufficient evidence to explain whether any parallel investigation by Mandiant
  would have been substantially different in substance than the counsel-led investigation at issue here. Order at 8.

                                                            10
Case 1:19-md-02915-AJT-JFA Document 641 Filed 06/25/20 Page 11 of 14 PageID# 7472



         In support of its position that the Magistrate Judge erred as a matter of law in applying

  the applicable test, Capital One relies on the distinguishing features of two cases denying work

  product protection to a Mandiant investigative report: Premera and Dominion Dental. In

  Premera, Mandiant was already conducting a “review [of] Premera’s data management system”

  when it discovered the data breach at issue, after which it continued its work in investigating the

  breach; and the court found that Mandiant’s data breach investigation was not protected as work

  product because “[t]he only thing that appear[ed] to have changed involving Mandiant was the

  identity of its direct supervisor, from Premera to outside counsel.” In re Premera, 296 F. Supp.

  3d at 1245. In Dominion Dental, Mandiant’s company-client, Mandiant, and the company’s

  outside counsel had entered into an agreement to do the work done almost a year before

  discovery of the underlying data breach; and that prior agreement expressly contemplated that

  Mandiant’s work would be conducted alongside outside counsel. Dominion Dental, 429 F. Supp.

  3d at 191.

         None of the relied upon aspects of either Premera or Dominion Dental dictates or

  suggests an opposite result in this case. Although Mandiant did not provide any services

  pertaining to the data breach incident in this case until after it had entered into the Letter

  Agreement, unlike in Premera, and the MSA and SOWs did not specifically mention working

  with outside counsel, as in Dominion Dental, Capital One failed to establish, like the companies

  in Premera and Dominion Dental, that the report Mandiant would have created for Capital One

  pursuant to its pre-data breach SOW would not have been substantially the same in substance or

  scope as the report Mandiant prepared for Debevoise. After all, both contractual arrangements

  were virtually identical; and based on the record in this case, it would be unreasonable to think,

  given identical contractual obligations under the pre- and post-data breach SOWs, that had



                                                    11
Case 1:19-md-02915-AJT-JFA Document 641 Filed 06/25/20 Page 12 of 14 PageID# 7473



  Mandiant not provided to Capital One through Debevoise all the information required under the

  SOW concerning the breach, it would not have provided that same “business critical”

  information directly to Capital One in discharge of its obligations under the pre-data breach

  MSA and SOW. In short, Capital One failed, as did these other companies, to satisfy the

  “because of” test. See In re Premera, 296 F. Supp. 3d at 1244 (“Premera has not shown that . . .

  the documents would not have been created in substantially similar form but for the prospect of

  litigation”) (internal quotations omitted); Dominion Dental, 429 F. Supp. 3d at 194 (holding that,

  notwithstanding an affidavit from the company that the Mandiant report would not have been

  prepared in substantially similar form and may not have been necessary at all without the threat

  of litigation, Dominion Dental had not carried its burden after noting the “almost identical”

  description of Mandiant’s services in the statement of work prior to and after the data breach).

  Cf. In re Experian Data Breach Litig., 2017 WL 4325583, at *2 (finding that a Mandiant report

  was entitled to work product protection because “Mandiant’s previous work for Experian was

  separate from the work it did for Experian regarding this particular data breach,” while not

  addressing in detail distinctions in the nature and scope of the pre-breach and post-breach

  Mandiant engagements).

          Nor did the Magistrate Judge improperly rely on the Mandiant Report’s post-production

  distribution.6 As courts have recognized, post-production disclosures are appropriately probative

  of the purposes for which the work product was initially produced. Cf. In re Experian Data

  Breach Litig., 2017 WL 4325583, at *2 (“If the report was more relevant to Experian’s internal

  investigation or remediation efforts, as opposed to being relevant to defense of this litigation,

  then the full report would have been given to that team.”). Here, the Magistrate Judge referenced


  6
   That distribution was to approximately 50 employees, a “corporate governance office general email box,” Capital
  One’s Board of Directors, and “four different regulators and to Capital One’s accountant.” Order at 4-5, 8.

                                                         12
Case 1:19-md-02915-AJT-JFA Document 641 Filed 06/25/20 Page 13 of 14 PageID# 7474



  that distribution simply to underscore Capital One’s business needs for a Mandiant produced

  report, see Order at 8 (the distribution of the Mandiant Report showed “that the results of an

  independent investigation into the cause and the extent of the data breach was significant for

  regulatory and business reasons”), not, as Capital One contends, for the purpose of stripping

  away work product protections from an otherwise protected document.7 Objs. at 23.




                                              The Magistrate Judge did not commit legal error when he

  referred to the Report’s post-production disclosures.8

           In sum, Capital One had determined that it had a business critical need for certain

  information in connection with a data breach incident, it had contracted with Mandiant to

  provide that information directly to it in the event of a data breach incident, and after the data

  breach incident at issue in this action, Capital One then arranged to receive through Debevoise

  the information it already had contracted to receive directly from Mandiant. The Magistrate



  7
    Because the Court finds that the Report is not protected work product, it does not address Plaintiffs’ alternative
  positions that Capital One waived protection over the Report or that the Report must be disclosed pursuant to
  Federal Rule of Civil Procedure 26(b)(3).
  8
    Capital One argues that the practical realities created by the Order are “unworkable,” especially for heavily-
  regulated companies like itself. Objs. at 19. Specifically, Capital One contends that the Order “incentivizes
  companies to either (a) forego keeping an incident response vendor on retainer or (b) hire a new, unfamiliar vendor
  to investigate any incident from which litigation is expected to result.” Id. at 19-20; Reply at 11. But that contention
  ignores the alternatives available to produce and protect work product, either through different vendors, different
  scopes of work and/or different investigation teams. See, e.g., Objs., Ex. 5 (Ben Kochman, Law360, It's Getting
  Harder To Hide Consultants' Data Breach Reports, available at:
  https://www.law360.com/articles/1279264?scroll=1&related=1 (last accessed June 19, 2020) (“[Michael] Phillips
  [chief claims officer at the cybersecurity analytics company Arceo.ai] agreed that [the Order] still ‘provides a road
  map to preserving privilege in an investigation,’ if companies are careful to distinguish data breach investigation
  reports as a distinct form of communication with their cybersecurity consultants. ‘Companies and their security
  partners should consider creating separate statements of work for breach investigations,’ Phillips said, adding that ‘a
  company’s data breach investigation process should look and feel different than typical operations with a managed
  security provider.’”)).

                                                             13
Case 1:19-md-02915-AJT-JFA Document 641 Filed 06/25/20 Page 14 of 14 PageID# 7475



  Judge, after considering the totality of the evidence, properly concluded that Capital One had not

  established that the Report was protected work product; and the Order was neither clearly

  erroneous nor contrary to law.

                                      IV.    CONCLUSION


         For the foregoing reasons, after de novo review of the Order, it is hereby

         ORDERED that Capital One's Rule 72 Objections to Order Granting Plaintiffs' Motion

  to Compel Production of Mandiant Report[Doc. 556] be, and the same hereby are,

  OVERRULED and the Magistrate Judge's Memorandum Opinion and Order [Doc. 490], dated

  May 26, 2020, be, and the same hereby is, AFFIRMED; and it is further

         ORDERED that that Capital One provide forthwith a copy of the Mandiant Report to

  Plaintiffs pursuant to the terms of the Protective Order entered in this action.

         The Clerk is directed to docket this Order in the lead case (1:19md2915), as required per

  PTO-1.




                                                        Anthony J. Treaga,
                                                        United States D/stnct Judge
  Alexandria, Virginia
  June 25. 2020




                                                   14
